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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:19−cr−00567
                                                       Honorable Harry D. Leinenweber
Robert Sylvester Kelly, et al.
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 16, 2019:


        MINUTE entry before the Honorable Harry D. Leinenweber: Arraignment and
plea hearing held as to Defendant Robert Kelly held on the N.D. Ill. charges. Defendant
Kelly acknowledges receipt, waives formal reading and enters a plea of not guilty to all
counts of the indictment. Pre−trial detention hearing held on both the N.D. Ill. and
E.D.N.Y. charges. For the reasons stated on the record, the Government's motion for
pretrial detention [14] is granted and Defendant Kelly's oral motion for recognizance bond
is denied. The defendant shall remain in custody until further order of the Court. The
Government has two weeks to produce Rule 16 discovery material to all Defendants in
this case. The Government is to confer with the E.D.N.Y. to organize an arraignment on
that district's charges and shall advise the Court if it wishes to proceed with that
arraignment in this Court. Status hearing set for 9/4/19 at 10:00 a.m. Without objection,
time is excluded from 7/16/19 to 9/4/19 pursuant to 18 U.S.C. § 316l(h)(7)(A)(B) in the
interest of justice and for reasons stated in open court. Mailed notice(maf)




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